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understand, but my five year legal battle was not like showing up for traffic court. And I know
that’s what most people, you know, somewhat imagine—like okay some sorte big deal, but not
really. It was a huge event, a huge experience in my life, Everyone else I know that whined
and complained never had the guts, And believe me, they all whined and complained—all of
them. It taught me that it is never—never wrong to fight for what is right. And then aside from
that, all the self-study I've done to be able to know what I talk about. Hell, I spent great
amounts of the money I made, buying myself time, investing in myself, becoming capable of
doing something else, and to do it legitimately. I am bothered by not just the guys I worked
with but by others too who have the professional fame and success, get personally detoured
down a degenerate and promiscuous side road, then show up hawking born-again
Christianity, or ambiguous, get-your-life/act-together routines, or that they know about
principles, or are principled and on and on, Why can’t they just be principled without having
to use hitting the bottom as their excuse and Christianity as their savior, then worse, go out
and turn it into somewhat of a con and a way to thieve money, It’s repulsive to me and I'm
very bothered by it,

FLYNN | : Do you still have contact with Sting?

WARRIOR]: No, not for years. I saw him and we spoke when I was at WCW in 1998, but,

1, we are different people than when we began and during those years he went his way and
I went mine. We never sustained contact.

FLYNN |: Do you have contact with any of the people from wrestling?

WARRIOR]: No. Look, I'm cut from a different mold. Most of the guys have this loyalty ta
e business that I don't have, Even when it ruins their lives, breaks their character as a
human being, or, worse, kills them. If things would not have gone sour with the MceMahons,
maybe I'd be more inclined. I mean, many of the old timers still work for Titan behind the
scenes, as agents, gophers, real jobbers. It's their job. They've made the business their life,

When | was having my success, you have to understand something: I'd been in the business a
few years. Other guys had been in it 10 to. 12 years and they never had the success I did. There
was a ton of envy, knew and was also smart enough to navigate the shark infested waters, I
was despised in a lot of ways. I knew I had to be a loner to succeed—do my own thing. And !
beat them at their own game—their own “work.” I got out on my own terms. They didn't get to
abuse the character or me,

They want to think in some ways—the pundits at least—that they were instrumental in

making you what you were. And they also want to write the obituary for you. They want to be
the ones to ridicule you on your way out: “Don't let the door hit you in the ass.” It pisses a lot
of people off that I have gotten on responsibly with my life. Like I've said numerous times, if I
had ended up a pitiful, drugged bum I'd be better appreciated for what I did in the business. If
1 OD'ed in a Budget hotel room doing dirty little street drugs, my wife and kids at home, I'd be
areal superstar. It also bothers a lot of people in the industry that I don't have a problem
defending the legitimacy of my career, using my mind to do so instead of muscle.

FLYNN |: So you went from what, from Mid-Southern to where?
WARRIOR | : We went to a place called Mid-South, and this guy named Bill Watts ran it,

FLYNN | : He later ran WCW?

WARRIOR]: He did, yeah.

We came in and Watts had this reputation for roughing up new guys, especially muscle guys;
especially muscle guys that really wanted to make it in the business and showed deference to
him because he was the boss. After about two or three months, there was an instance where
Watts wanted me to get down in the locker room in front of all of the other guys. I'd heard the
story through the grapevine about what he did. He wanted me to get down on all fours like a
dog and he was going to show me how to throw a “working” kick to the underbelly (so he

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makes you think),

Well, [heard about what he did—he would kick the shit out of you and bust your ribs up. It
was like a test to see if you would take the crap. And I knew what he was going to do and I
said, “Look, if you want me on all fours you're going to have to put me there.” Of course, he
waso t man enough to go for that. He wanted me ata disadvantage to begin with. This is
something that the whole locker room didn't expect, because guys come in the business and
they really want to make it and they do whatever it takes. Steve just stood there and didn't
really back me up, even though we had like this bond between ourselves that we were in this—
good or bad—together. I was bothered by that, We really started splitting ways after that,
thinking differently about goals, ete. Eddie Gilbert and some of the others there got in Steve's
ear, and our relationship quickly fell apart after that. I was never afraid to think for myself,
Steve more liked to be handled.

I picked up the phone and called WCCW over in Texas. And that's when I went over there and
started the Dingo Warrior.

FLYNN |: How long did you stay there?

WARRIOR |; I stayed there, I think, about a year and a half. I did really well. Just before 1
came in to work, Kerry [Von Erich] had a motorcycle wreck where he actually lost his foot,
They amputated it. They kaye fabed [shielded] it for years, Even I didn't know about it until
much later when Kerry and I became really great friends, like brothers, after I went up and
was doing my thing in WWF with wild success. Iwas living in Texas and he was just down the
road from me and we began hanging out together. WCCW was a territory, when I went there,
that had the second amount of exposure compared to Titan. Titan was really just starting to
spread nationally at the time, And the Dingo Warrior character really took off and got decent
press in the monthly wrestling magazines out on the newsstands. I started as a heel, but
people tock to the similarities between me and Kerry, our bodies, our warrior look, and
tiannerisms you might say, It was actually the crowds down there that tumed the Dingo
Warrior [into a] baby face.

FLYNN | +So you get inte Titan in what, the late "Sos?

WARRIOR |: About the later part of '86 or “87. [was actually in the middle of signing a

to go to Japan at the time. This guy named George Scott, who worked for Titan and was
one of Vince's nght hand men when he did his first Wrestlemania, was booking there at the
time, He had just retired from Titan and as a favor to Fritz he came down to Texas on his way
to Florida to take over the book fora while, Through people who worked at the Texas office, at
the Sportatoriam where I was-at WCCW, I found out that he was having conversations with
Vince talking about me, talking highly about me. Telling Vince that there's a guy down here
who has got this unbelievable potential. That guy happened to be me.

It’s ironic because if you leok at the timeline, as soon as that George Scott guy came to Texas,
Vince started running shows in Dallas, Texas. So, really what was going on—this George Scott
guy came down to kill off the territory completely.

FLYNN |: You think he was like a fifth columnist or something?

WARRIOR |: Yeah. That's a great way to put it, for sure that's what he was doing. I don't
ave any doubts about it. Neither would any one else being straight with themselves. Shortly
after I began with WWF, WCCW shut down,

Continued tomorrow...Come back to. www flynnfiles.com to reed about Ulimate Warrior's
Wrestlemania victory over Hulk Hogan and his courtroom victory over Vince McMahon. In
part hwo of four, Warrior discusses his distaste for the wrestling business, the WWF steroid
controversy, Titan's failed venture inte bodybuilding, as well as names that haven't crossed
your mind in years (if ever!)—Iron Mike Sharpe, Hanky Tonk Man, Papa Shango, the
Renegade, and more.

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